                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

JALEN WEBB,                                 )
                                            )
                      Plaintiff             )
        v.                                  )       No. 3:22-CV-808
                                            )       JURY DEMAND
                                            )       JUDGE TRAUGER
KAPPA SIGMA FRATERNITY, et al               )
                                            )
                      Defendants.           )

                                    ORDER OF NON-SUIT

        THIS MATTER came before the Court this 8th day of June, 2023, and upon motion of the

Plaintiff, Jalen Webb, by and through his attorney of record, Phillip S. Georges, for a voluntary

non-suit of Defendant, STEPHEN HUNTER GRAND II with-out prejudice to Plaintiff’s right to

re-file same pursuant to FRCP Rule 41 and Tenn. R. Civ P. 41.01(1)

        IT APPEARING to the Court that said motion for voluntary non-suit of Defendant,

STEPHEN HUNTER GRAND II should be granted, which fact is evidenced by the endorsement

of counsel

below, it is

        ORDERED AND ADJUDGED that this case be, and hereby is, dismissed, without

prejudice, pursuant to FRCP Rule 41 and Tenn. R. Civ P. 41.01(1), against Defendant, STEPHEN

HUNTER GRAND II; and

IT IS SO ORDERED.




                                                    _________________________
                                                    ALETA A. TRAUGER
                                                    U.S. DISTRICT JUDGE



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